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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                              CASE NO: 2:15-cr-115-FtM-38CM

ZACHARIAS ABAB AGUEDO


                                                ORDER1

        This matter comes before the Court on the Defendant Zacharias Abab Aguedo’s

Motion for Miscellaneous Relief (Doc. #119) filed on December 8, 2015. Aguedo moves

the Court for an additional $5,000.00 for investigative fees. As grounds, Defense Counsel

states the additional funds are necessary in order to properly represent Aguedo.

According to Counsel, the government has given Aguedo three DVDs containing phone

records of the Defendant’s audio statements, audio statements of all the Defendants, PDF

reports containing an excess of 600 pages as well as videos taken from a cell phone

impounded as a result of Aguedo’s arrest. All of the above has been reviewed and

evaluated by JCO and Associates in order to assist counsel.

        In addition to reviewing the above, JCO and Associates will have to do additional

research and investigations regarding previous state charges against Aguedo, travel to

and from Charlotte County Jail where Aguedo is housed to meet with him, as well as

additional work to assist counsel in preparing for trial.


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hyperlinks are provided only for users’ convenience. Users are cautioned that hyperlinked documents in
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hyperlink ceases to work or directs the user to some other site does not affect the opinion of the Court.
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       Pursuant to 18 U.S.C. § 3006A(e)(1):

              Counsel for a person who is financially unable to obtain ...
              expert, or other services necessary for adequate
              representation may request them in an ex parte application.
              Upon finding, after appropriate inquiry in an ex parte
              proceeding, that the services are necessary and that the
              person is financially unable to obtain them, the court, or the
              United States magistrate judge if the services are required in
              connection with a matter over which he has jurisdiction, shall
              authorize counsel to obtain the services.

18 U.S.C. § 3006A(e)(1). However, the Court is not permitted to approve the expenditure

of funds in excess of:

              $2,400, exclusive of reimbursement for expenses reasonably
              incurred, unless payment in excess of that limit is certified by
              the court, or by the United States magistrate judge if the
              services were rendered in connection with a case disposed of
              entirely before him, as necessary to provide fair compensation
              for services of an unusual character or duration, and the
              amount of the excess payment is approved by the chief judge
              of the circuit.

18 U.S.C. § 3006A(e)(3); U.S. v. Watkins, No. 3:10-CR-00073-J-32, 2011 WL 766194, at

*1 (M.D. Fla. Feb. 25, 2011).

       The Court has previously determined that Aguedo is financially unable to pay for

his own representation and finds that the instant funds are necessary for Aguedo’s

defense. While Aguedo requests $5,000.00, pursuant to 18 U.S.C. §3006A(e)(3), the

District Court may only approve up to $2,400.00 for CJA funds for investigative fees. As

such, Aguedo’s request for investigative funds will be granted up to the statutory

maximum amount of $2,400.00.

       Accordingly, it is now

       ORDERED:




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      The Defendant Zacharias Abab Aguedo’s Motion for Miscellaneous Relief (Doc.

#119) is GRANTED in part, up to the statutory maximum amount of $2,400.00.

      DONE AND ORDERED at Fort Myers, Florida, this December 8, 2015.




Copies: Counsel of Record




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